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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION


RYAN, LLC,

                        Plaintiff,

v.                                       Case No. 3:24-cv-986-E

FEDERAL TRADE COMMISSION,

                        Defendant.


        BRIEF IN SUPPORT OF PLAINTIFF-INTERVENORS’
            MOTION FOR STAY OF EFFECTIVE DATE
                AND PRELIMINARY INJUNCTION
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                       PRELIMINARY STATEMENT

      Many businesses expend considerable time and resources training and

developing their employees. They also give those employees access to highly

sensitive, proprietary information.     Having invested in their people and

entrusted them with valuable company secrets, those businesses have strong

interests in preventing competitor businesses from free-riding on those

investments or gaining improper access to confidential information. For

centuries, U.S. businesses have sought to protect those critical interests by

entering into reasonable noncompete agreements with their employees, who

can also benefit from increased training, access to more information, and a

chance to bargain for higher pay.

      Policymakers and courts have long understood the benefits of

reasonable noncompete agreements.         At the same time, they have also

recognized that some noncompetes may present an undue burden for certain

workers or impose overly broad restrictions—for instance, by preventing an

employee from working for a firm hundreds of miles away. And each State

has developed its own body of law to strike what it believes is the right balance.

At the federal level, Congress has never enacted a law regulating
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noncompetes.       And without authorizing legislation, federal agencies

appropriately have never attempted nationwide regulation of noncompetes.

      Until now.       For the first time in its history, the Federal Trade

Commission has issued a sweeping rule largely banning worker noncompete

agreements nationwide, decreeing that nearly every one of them constitutes

an “unfair method of competition” under Section 5 of the Federal Trade

Commission Act, 15 U.S.C. § 45(a). By the Commission’s own estimates, the

Noncompete Rule will retroactively invalidate 30 million contracts. And by

categorically banning noncompetes going forward, the Rule will impose huge

costs both on workers (by depriving them of the specialized training and

additional compensation benefits such agreements can help secure) and on

businesses (by forcing them to rely on burdensome and uncertain methods to

protect their confidential business information). Plaintiff-intervenors easily

satisfy the requirements for an order staying the Rule’s effective date,

preliminarily enjoining the Commission from enforcing it, or both.

      First, plaintiff-intervenors are overwhelmingly likely to prevail on the

merits because the Commission has no authority to issue regulations

prohibiting “unfair methods of competition.” For decades, the Commission

has addressed unfair-competition practices through individual adjudications,


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applying standard antitrust principles to the facts of each case.           The

Commission now claims that a seldom-used housekeeping provision of the

FTC Act, Section 6(g), actually grants a long-dormant power to issue

substantive rules declaring business practices unlawful economy-wide. The

text, context, structure, and history of Section 6(g) say otherwise. And if there

were any doubt, it is resolved by the major-questions doctrine, which

recognizes that Congress must “speak clearly if it wishes to assign an agency

decisions of vast economic and political significance.” West Virginia v. EPA,

597 U.S. 697, 716 (2022).

      Even if the Commission had the authority to engage in unfair-

competition rulemaking, categorically prohibiting all worker noncompete

agreements as “unfair methods of competition” cannot be squared with the

meaning of that phrase in Section 5 of the FTC Act. Under established law, a

business practice is only unfairly competitive if it produces anticompetitive

harm that outweighs any procompetitive benefits. The Commission did not

even attempt to make that showing for the entire class of noncompetes.

Instead it relied on a radical reinterpretation of Section 5 in a 2022 “Policy

Statement,” under which a majority of the Commission can condemn conduct

as “unfair” without having to show any actual harm to consumers or


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competition. That novel interpretation of Section 5 is wrong on its own terms,

upends the States’ longstanding role in regulating noncompetes, and violates

the major-questions doctrine.      The Commission’s view also would make

Section 5 so boundless as to reflect an unconstitutional delegation of legislative

power from Congress.

      Independent of those and other statutory defects, the Rule is a textbook

example of arbitrary and capricious decisionmaking. Here, the Commission

adopted a sweeping, categorical rule that has no relationship to the existing

evidence on noncompete agreements.           It ignored a range of narrower

alternative proposals that would have achieved the Commission’s purported

objectives without imposing onerous burdens. And its cost-benefit analysis

grossly undercounts the costs of the rule while crediting it with speculative

benefits based on stale data. Commenters explained those errors during the

notice-and-comment period, but the Commission failed to address them.

      Second, plaintiff-intervenors need immediate relief because the Rule

will cause irreparable harm to businesses and employees. The Rule takes

effect less than four months from now. At that moment, virtually all existing

noncompete agreements will instantly become unenforceable. Parties that

currently rely on noncompetes will be forced to choose between terminating


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those agreements or risking an enforcement action. In the meantime, those

existing agreements will be thrown into serious doubt, as parties now lack any

assurance that their earlier bargain remains enforceable. And companies will

be reluctant to enter into noncompetes with new hires under the looming

shadow of a Rule that deems those agreements unlawful.

          Third, the balance of hardships and the public interest also favor interim

relief.      Issuing a stay of the Noncompete Rule’s effective date and

preliminarily enjoining its enforcement will preserve a status quo that has

been in place since the Founding. Allowing the Rule to take effect and be

enforced while this litigation is pending would thus be extremely disruptive to

the public. The Commission cannot remotely claim to suffer that type of harm.

It has been nearly three years since President Biden’s Executive Order

instructing the Commission to curtail noncompete agreements, and the

Commission itself delayed the Rule’s effective date by four months. Any harm

to the Commission from maintaining the status quo is vastly outweighed by

the harm to the public from allowing a likely unlawful and massively important

regulation to unsettle a wide swath of the Nation’s economy.




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                               BACKGROUND

      A.    The Commission’s Authority Under The Federal Trade
            Commission Act

      In the FTC Act of 1914, Congress “declared unlawful” “unfair methods

of competition” and created the Commission to enforce that prohibition. The

FTC Act reflected two different views in Congress about how the Commission

should operate.        The House envisioned the Commission as a purely

investigative body, which would gather information, produce reports, and

make recommendations to the Attorney General for enforcement. Meanwhile,

the Senate envisioned the Commission as a separate enforcement agency that

would enforce the antitrust laws through case-by-case adjudication. Notably,

there is no suggestion in the congressional debates that anyone in Congress

believed the FTC would have substantive rulemaking authority.

      What emerged was a combination: the Senate-proposed enforcement

powers became Section 5 of the Act, while the House-proposed investigative

powers became Section 6. See Merrill & Watts, Agency Rules with the Force

of Law: The Original Convention, 116 Harv. L. Rev. 467, 505 (2002). In

Section 5, Congress authorized the Commission to pursue individual

enforcement actions against alleged violators. 15 U.S.C. § 45(a)-(b). And in

Section 6, titled “Additional powers,” Congress authorized the Commission to

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undertake other activities to further its enforcement authority, such as

compelling parties to produce “annual or special” reports and “investigat[ing]”

violations of the antitrust laws that may be referred to the Attorney General.

15 U.S.C. § 46. Relevant here, in Subsection (g)—which is titled “Classification

of corporations; regulations”—Congress granted the Commission the power

to “[f]rom time to time classify corporations and . . . to make rules and

regulations for the purpose of carrying out the provisions of this subchapter.”

Id. § 46(g) (emphasis added).

      Congress has revisited the FTC Act many times since 1914. In 1938,

Congress amended Section 5 to also prohibit “unfair or deceptive acts or

practices.” Pub. L. 75-447, § 3. In 1975, Congress expressly authorized the

Commission to issue binding regulations related to “unfair or deceptive acts

and practices,” but only after following detailed procedural requirements.

Pub. L. 93-637, § 202 (codified at 15 U.S.C. § 57a). Congress has also provided

the Commission with narrow rulemaking authority over specific topics. See,

e.g., 15 U.S.C. § 1194(c) (“violation[s] of such rules … shall be an unfair method

of competition and an unfair and deceptive act or practice”). Outside of those

specific statutes, Congress has never expressly authorized the Commission to

issue rules prohibiting “unfair methods of competition.”


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      B.    Existing Regulation Of Worker Noncompete Agreements

      By the Commission’s own estimates, there are 30 million noncompetes

in the United States. See FTC, Non-Compete Clause Rule, RIN3084-AB74,

at 14 (Apr. 23, 2024) (Final Rule). Reasonable noncompete agreements allow

businesses to protect sensitive and confidential information and give

employers increased flexibility in compensation. They also benefit employees

by incentivizing specialized training and development opportunities that

would otherwise be unavailable. See McAdams, Non-Compete Agreements: A

Review of the Literature, FTC Bureau of Economics Research Paper 6 (2019).

      Noncompetes pre-date the Founding and have been regulated

exclusively by the States for centuries. See, e.g., Pierce v. Fuller, 8 Mass. 223

(1811).    States have developed varying approaches to ensuring that

noncompetes do not unduly restrict workers. In many States, including Texas,

a noncompete agreement will be enforced so long as it is “limited appropriately

as to time, territory, and type of activity.” See, e.g., DeSantis v. Wackenhut

Corp., 793 S.W.2d 670, 682 (Tex. 1990). Some States have enacted statutes

prohibiting certain kinds of noncompetes. See, e.g., Mass. Gen. Laws Ann. ch.

149, § 24L(b)(iv) (prohibiting noncompetes that “exceed 12 months”). And

four States—California, Oklahoma, North Dakota, and Minnesota—have


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enacted legislation treating noncompetes in the employment context as largely

unenforceable, each ban narrower than the Rule. By contrast, no federal law

addresses the enforceability of noncompetes.

      C.    The Commission’s Rulemaking

      Despite extensive case law and economic research confirming the

benefits of reasonable noncompete agreements, the Commission in January

2023 proposed a broad rule that would ban those agreements nationwide.

Compl. ¶ 57. The proposed rule prompted swift pushback from businesses,

workers, economists, and former governmental officials.          And plaintiff-

intervenors and others showed that the Commission lacks authority to issue a

competition regulation of any kind or to categorically prohibit noncompete

agreements. Compl. ¶¶ 79-81.

      On April 23, 2024, the Commission issued its final rule, which changed

little from the proposal. See Final Rule, at 561-565. The main substantive

change was a carve-out for existing (but not future) noncompetes with “senior

executives,” defined as workers making over $151,164 who hold a “policy-

making position.” Id. at 563.




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     STATEMENT OF NATURE AND STAGE OF PROCEEDINGS

      Plaintiff-intervenors moved to intervene on May 8, 2024. Their claims

arise under the APA, 5 U.S.C. § 706, and the Declaratory Judgment Act, 28

U.S.C. §§ 2201-2202.

       STATEMENT OF ISSUES AND STANDARD OF REVIEW

      Plaintiff-intervenors seek a stay of the Noncompete Rule’s effective date

and a preliminary injunction barring its enforcement. See 5 U.S.C. § 705.

Plaintiff-intervenors are entitled to that relief if (i) they show a “likelihood …

of success on the merits,” (ii) they face “a substantial threat of irreparable

harm,” and (iii) the “balance of harms” and “public interest” favors relief. See

Career Colleges and Schools of Tex. v. U.S. Dep’t of Educ., 2024 WL 1461737,

at *7, 26 (5th Cir. April 4, 2024) (stay); Louisiana v. Biden, 55 F.4th 1017, 1022

(5th Cir. 2022) (preliminary injunction).

                                 ARGUMENT

      The Noncompete Rule is an unlawful assertion of power that will impose

widespread and substantial harms on businesses and employees across the

country. Applying the established requirements for preliminary relief, this

Court should stay the effective date of the Rule, preliminarily enjoin its

enforcement, or both.



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I.    PLAINTIFF-INTERVENORS ARE LIKELY TO PREVAIL ON
      THE MERITS.

      A.    The Noncompete Rule Exceeds The Commission’s Statutory
            Authority.

      The FTC Act does not authorize the Rule for three independent reasons.

First, no provision of the FTC Act empowers the Commission to issue

substantive unfair-competition rules. The Commission relies on Section 6(g),

but that ancillary provision cannot support such an expansive and

unprecedented claim of regulatory power. Second, Section 5 of the FTC Act

cannot be read to allow the Commission to outlaw all noncompete agreements.

The Commission’s interpretation is divorced from history and precedent and

would result in an unconstitutional delegation of power from Congress to the

Commission.      Third, at a minimum, the FTC Act contains no language

authorizing the Commission to retroactively invalidate millions of existing

noncompetes.

            1.     The Commission Lacks Authority To Prohibit Unfair
                   Methods Of Competition Through Rulemaking
                   (Count I).

      The Commission has no general, freestanding authority to issue binding

regulations. Unlike agencies that Congress authorized to make substantive

rules addressing all matters under their jurisdiction, the Commission was not

established as a rulemaking body. Instead, Congress gave it the power to (i)
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pursue individual enforcement actions and (ii) investigate potential

wrongdoing and publish reports. Although Congress has since vested the

Commission with specific rulemaking authority over certain matters, it has

never done so for “unfair methods of competition.”

      a.    The Commission claims to have found general rulemaking

authority in a single clause tucked within a provision setting forth its

investigative powers. Section 6(g) authorizes the Commission to “[f]rom time

to time classify corporations and . . . make rules and regulations for the

purpose of carrying out the provisions of [the Act].”          15 U.S.C. § 46(g)

(emphasis added). That formulation is markedly different from other statutes

that for centuries have expressly provided agencies with the power to issue

binding substantive rules. See, e.g., Act of July 22, 1813, Ch. 16 § 4, 3 Stat. 22,

26 (agency may “establish regulations” that “shall be binding” on private

parties). To authorize legislative rulemaking, Congress also has historically

prescribed sanctions for violations of the agency’s rules, confirming that those

rules create substantive obligations for regulated parties. See Merrill &

Watts, supra, at 494-495. By contrast, when a rulemaking provision does not

expressly indicate that the agency may issue regulations that will bind the




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public, the provision is “simply a grant of authority to the agency to regulate

its own affairs.” Chrysler Corp. v. Brown, 441 U.S. 281, 309 (1979).

      The “broader context of the statute as a whole” confirms that Section

6(g) does not give the Commission substantive rulemaking authority. See

Utility Air Reg. Grp. v. EPA, 573 U.S. 302, 321 (2014). Section 6(g) begins

with the power to “[f]rom time to time classify corporations.” Congress did

not slip in substantive rulemaking authority over all business practices in the

American economy after first granting that mundane power.              Moreover,

Section 6(g) is the seventh in a list of twelve lettered subsections setting forth

“[a]dditional powers” of the Commission, which largely consist of investigative

authorities to request information and produce reports. Section 6 does not

mention Section 5 or any other substantive authority. And it provides no

standards to guide the Commission—like the “public interest” standard that

applies to enforcement actions under Section 5. 15 U.S.C. § 45(b). All of that

makes sense only if Section 6(g) does not confer the power to issue binding

substantive rules.

      b.    The FTC Act’s history further confirms that Section 6(g) does not

provide substantive rulemaking authority.         Section 6 emerged from an

agreement between those who wanted the FTC to pursue its own enforcement


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actions (ultimately reflected in Section 5) and those who wanted the FTC to

serve as a purely investigative body (reflected in Section 6). See pp. 6-7, supra.

Neither camp even suggested giving the Commission the power to issue

legislative rules that would bind every sector of the economy.

      In fact, both during and after the Act’s passage, all three Branches

expressly stated their view that the Commission lacked rulemaking authority.

Representative Covington advocated for the FTC Act by arguing that the

Commission would “not be exercising power of a legislative nature.” Merrill

& Watts, supra, at 506 (quoting 51 Cong. Rec. 14,932 (1914)). Shortly after the

law was passed, the Commission itself wrote to Congress that “[o]ne of the

most common mistakes is to suppose that the [Commission] can issue orders,

rulings, or regulations unconnected to any proceedings before it.” Id. (quoting

Annual Report of the Federal Trade Commission 36 (1922)).                   That

understanding was echoed by Attorney General Jackson in his Final Report

on the APA.      Id.   And in resolving a constitutional challenge to the

Commission’s structure in 1935, the Supreme Court explained that Section 6

only authorized the Commission to “mak[e] investigations and reports thereon

for the information of Congress.” Humphrey’s Executor v. United States, 295




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U.S. 602, 627-628 (1935). The consensus understanding has long been that

Section 6(g) does not authorize substantive rules.

      c.    Subsequent amendments to the FTC Act provide further

confirmation that Section 6(g) does not grant general substantive rulemaking

authority. First, Congress has enacted targeted amendments to the FTC Act

that expressly allow rulemaking related to specific subjects, like dangerous

items in the marketplace. See, e.g., Pub. L. 90-189, § 4 (1967). Those statutes

would have been entirely unnecessary if Section 6(g) already empowered the

Commission to make substantive rules.

      Second, in the Magnuson-Moss Act of 1975, Congress granted the

Commission rulemaking authority related to “unfair or deceptive acts and

practices”—but not “unfair methods of competition.” 15 U.S.C. § 57a(a). And

Congress imposed extensive procedural requirements before the Commission

could issue any rules under that statute. See, e.g., 15 U.S.C. § 57a(b)(2). It is

implausible that Congress expressly granted substantive rulemaking

authority subject to procedural hurdles for “unfair and deceptive acts or

practices,” while implicitly allowing the Commission to make binding “unfair

method of competition” rules at will.




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      Third, Congress again revisited the Commission’s rulemaking authority

in 1994, codifying the substantive analysis the agency must undertake when

defining “unfair or deceptive acts and practices.” See Pub. L. 103-312, § 9; S.

Rep. 103-130 at 12. Again, Congress gave no indication that the Commission

could issue rules defining “unfair methods of competition.” See H.R. Rep. 103-

138, at 4 (Commission’s authority related to unfair methods of competition is

“limited … to case-by-case adjudication”).

      d.    Any doubt about the meaning of Section 6(g) is resolved by the

major-questions doctrine. It is hard to imagine a more major question than

whether an agency may assert rulemaking authority to decide what

constitutes fair competition throughout the entire country. This case shows

how awesome that power is: by a vote of 3-2, the Commission has overridden

the laws of at least 46 States and declared tens of millions of noncompete

agreements unenforceable. And of course if the Commission may declare that

all noncompetes are unfair methods of competition, it may take the same

approach to any other business practice or category of conduct.            The

Commission’s approach would break from decades of its own case-by-case

adjudication, and (as here) potentially centuries of state law. The Commission

has nothing remotely resembling clear congressional authorization to assert


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powers of such vast “political and economic significance.” Biden, 55 F.4th at

1033; see NFIB v. OSHA, 595 U.S. 109, 117 (2022).

      If more were needed, the Commission has “claim[ed] to discover” this

“unheralded power” in a “long-extant statute.” Biden, 55 F.4th at 1033.

Section 6(g) is tucked away in a corner of the FTC Act that relates to

investigative powers, and it includes no reference to any substantive power of

the Commission. The Commission understood Section 6(g)’s limited scope for

decades, and did not attempt to issue a rule under that provision until fifty

years after the FTC Act’s passage. To be sure, the Commission experimented

with a short-lived effort to issue joint deceptive-practices and unfair-

competition rules in the 1960s and 1970s, see Final Rule, at 25-28—which

prompted Congress to clarify the Commission’s rulemaking authority through

the Magnuson-Moss Act, which conferred such authority only for unfair or

deceptive acts or practices. Since that time, the Commission has never until

now relied on Section 6(g) as granting substantive rulemaking authority.

      e.    The Commission largely relies on one decision to defend its claim

of rulemaking authority: National Petroleum Refiners v. FTC, 482 F.2d 672




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(D.C. Cir. 1973). See Final Rule, at 29-30.* That decision is a relic of a bygone

era that was wrong then and is obviously so now. In holding that Section 6(g)

“empowered [the Commission] to promulgate substantive rules of business

conduct,” National Petroleum Refiners rested on the fact that Congress had

not expressly excluded that authority. 482 F.2d at 673, 686. That gets it

exactly backward. Agencies do not have unlimited power to accomplish their

policy preferences until Congress stops them; they have only the powers that

Congress grants through a “textual commitment of authority.” Whitman v.

American Trucking Ass’ns, 531 U.S. 457, 468 (2001). And under the major-

questions doctrine, the more important the agency’s claim of authority, the

clearer must be the textual commitment.

       The court of appeals in National Petroleum Refiners also reasoned that

its “duty [was] to favor an interpretation which would render the statutory

design effective in terms of the policies behind its enactment and to avoid an

interpretation which would make such policies more difficult of fulfillment.”

482 F.2d at 689. That policy-based reasoning should have cut the other way:



   *
     The only other decision cited in the Rule “incorporated” National Petroleum Refiners
“by reference” on the ground that “Congress [did not] intend[]” “the issue of Section 6(g)
rulemaking power” “to be litigated each time the Commission seeks to enforce a trade
regulation rule.” United States v. JS&A Grp., Inc., 716 F.3d 451, 454 (7th Cir. 1983).

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in 1914, Congress designed Sections 5 and 6 to grant adjudicative and

investigative powers, but not substantive rulemaking authority. But in any

event, the perils of that approach are one reason why today courts “will not

alter the text in order to satisfy the policy preferences” of the Commission.

Barnhart v. Sigmon Coal Co., 534 U.S. 438, 462 (2002). Whatever persuasive

authority National Petroleum Refiners might have had in 1973 has long since

evaporated. Perhaps that is why the Commission had not relied on it for the

last half-century until this Rule.

            2.     The Commission’s Classification Of All Noncompetes
                   As “Unfair Methods of Competition” Is Contrary To
                   Section 5 (Counts II, III).

      Even if the Commission may make rules to govern “unfair methods of

competition” under Section 6(g), the Noncompete Rule is still unlawful. It has

long been settled that to constitute an “unfair method of competition” under

Section 5, the conduct at issue must harm competition more than help it. Some

individual noncompete agreements may impose harms that are not

outweighed by procompetitive benefits, but plainly not all of them do.

Accordingly, the Commission could not simply declare all noncompetes per se

unlawful under Section 5.




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      a.    “It is the function of the court[s] to determine the scope” of the

phrase “unfair methods of competition.” E.I. Du Pont de Nemours & Co. v.

FTC, 729 F.2d 128, 136 (2d Cir. 1984) (Ethyl). To distinguish “anticompetitive”

from “legitimate conduct,” id., courts have consistently required the

Commission to prove in each case that the challenged conduct (i) produces

anticompetitive effects, see, e.g., North Tex. Specialty Physicians v. FTC, 528

F.3d 346, 362-363 (5th Cir. 2008); Ethyl, 729 F.2d at 141; and (ii) is not offset

by legitimate, procompetitive justifications, see, e.g., Impax Labs., Inc. v. FTC,

994 F.3d 484, 497 (5th Cir. 2021); Ethyl, 729 F.2d at 140. Under this settled

interpretation of Section 5, in order to show that all noncompetes constitute

“unfair methods of competition,” the Commission had to show that every

noncompete     causes    competitive   harm     that    is   not   outweighed   by

procompetitive benefits.

      The Commission did not even try to show that all noncompete

agreements do more competitive harm than good. Instead the Commission

argued that noncompetes harm competition in the aggregate. See Final Rule

132-135. But courts have correctly rejected that type of aggregated approach.

See, e.g., Boise Cascade Corp. v. FTC, 637 F.2d 573, 582 (9th Cir. 1980) (“[T]o

allow a finding of a Section 5 violation on the theory that the mere widespread


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use of [a] practice[] makes it [unlawful] would blur the distinction between

guilty and innocent commercial conduct.”).       If some noncompetes harm

competition and others do not, only the former are “unfair methods of

competition.” See Snap-On Tools Corp. v. FTC, 321 F.2d 825, 837 (7th Cir.

1963); Bradford v. New York Times Co., 501 F.2d 51, 59 (2d Cir. 1974).

      Nor did the Commission attempt to show that the supposed

anticompetitive effects of noncompetes are not offset by procompetitive

benefits—such as promoting specialized training or protecting businesses’

sensitive information.   The Commission acknowledged that noncompetes

serve many legitimate business interests, Final Rule at 283, but it never

attempted to show that those benefits were outweighed by the anticompetitive

harms for every noncompete agreement prohibited by its Rule. See id. at 282.

      b.    Again, if there were any doubt about the meaning of Section 5,

several settled interpretive principles would resolve it. Courts “assume that

Congress is aware of existing law” when it enacts a statute. Miles v. Apex

Marine Corp., 498 U.S. 19, 32 (1990). Noncompete agreements date back to

the Founding, and there is no indication that Congress in 1914 intended for

the Commission to outlaw a common, well-accepted business practice.

Moreover, Congress must use “exceedingly clear language if it wishes to


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significantly alter the balance between federal and state power,” USFS v.

Cowpasture River Preservation Assn., 590 U.S. 604, 622 (2020)—particularly

when acting in an area of “traditional state regulation,” Metropolitan Life Ins.

Co. v. Massachusetts, 471 U.S. 724, 740 (1985). Here, States have always

regulated noncompetes, and federal law has had nothing to say on the subject.

      In addition, as with its reading of Section 6, the Commission’s

interpretation of Section 5 runs headlong into the major-questions doctrine.

By the Commission’s lights, the Rule would affect every industry in America

based on across-the-board generalizations of what practices a majority of

Commissioners believes are “unfair.” See NFIB, 595 U.S. at 117. And it would

allow the agency to substitute its judgment for that of Congress, which has

declined to enact noncompete legislation for years, as well as the States, most

of which have widely enforced noncompetes. See West Virginia, 597 U.S. at

731-732; Alabama Ass’n of Realtors v. HHS, 594 U.S. 758, 764 (2021)

(explaining that the major-questions doctrine applies when an agency

“intrudes into an area that is the particular domain of state law”). Congress

has not authorized any of this, let alone clearly.

      c.    Finally, if the Commission’s interpretation of “unfair methods of

competition” were correct, Section 5 would unconstitutionally delegate


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legislative power. To excuse its failure to show that all noncompetes cause

unjustified competitive harm, the Rule relies on the Commission’s

interpretation of “unfair methods of competition” adopted in a 2022 Policy

Statement. See Final Rule, at 55-57. Breaking with decades of case law

interpreting Section 5, that Policy Statement says that the Commission may

determine that conduct violates Section 5 so long as (i) it is “undertaken by an

actor in the marketplace,” (ii) it is “coercive, exploitative, collusive, abusive,

deceptive, [or] predatory,” and (iii) it “tend[s] to negatively affect competitive

conditions” by, for example, “impair[ing] the opportunities” of a competitor.

Id.; FTC, Policy Statement Regarding the Scope of Unfair Methods of

Competition 8-9 (Nov. 2022) (Policy Statement).

      If those vague requirements are all that is necessary to declare a

business practice unlawful, then there are no meaningful guardrails on the

Commission’s power. Indeed, the Commission goes so far as to claim that it

can prohibit any conduct that violates “the spirit of the antitrust laws,” so long

as that conduct “limit[s] choice” or “impair[s] other market participants.”

Policy Statement, at 9-10.      Understood that way, Section 5 lacks any

“intelligible principle” to guide the Executive’s discretion. Gundy v. United




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States, 139 S. Ct. 2116, 2123 (2019). The Commission’s interpretation would

thus amount to an unconstitutional delegation of legislative power.

            3.    The Commission’s Rule Is Unlawfully Retroactive
                  (Count IV).

      At a minimum, the Commission’s attempt to invalidate all existing

noncompetes exceeds its authority.         “[A] statutory grant of legislative

rulemaking authority will not, as a general matter, be understood to

encompass the power to promulgate retroactive rules.” Bowen v. Georgetown

Univ. Hosp., 488 U.S. 204, 208 (1988). Agencies seeking to issue retroactive

rules must point to clear congressional authorization to do so. Id.

      The Commission did not attempt to identify a clear congressional

authorization to engage in retroactive rulemaking. The Rule nonetheless voids

nearly all existing noncompetes, even if the parties bargained for that

protection in return for valuable consideration. See Final Rule, at 343. Even

assuming Section 6(g) authorizes the Commission to issue unfair-competition

regulations, nothing in that provision blesses the Commission’s attempt to

retroactively unwind private contracts. This Court should avoid the serious

questions that arise under the Fifth Amendment when the government

imposes retroactive burdens that “deprive citizens of legitimate expectations



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and upset settled transactions.” Eastern Enters. v. Apfel, 524 U.S. 498, 533

(1998).

      B.    The Noncompete Rule Is The Product Of Flawed
            Decisionmaking.

      In addition to lacking statutory authority for the Noncompete Rule, the

Commission violated the APA in adopting it. “Arbitrary and capricious review

focuses on whether an agency articulated a rational connection between the

facts found and the decision made.” Mexican Gulf Fishing Co. v. U.S. Dep’t

of Commerce, 60 F.4th 956, 971 (5th Cir. 2023). Here, the Commission fell

short of the APA’s standard in numerous ways.

            1.    The Rule’s Broad Ban Is Not Supported By Its Limited
                  Evidence.

      The Noncompete Rule defines “non-compete clause” to cover every

“term or condition of employment that prohibits a worker from, penalizes a

worker for, or functions to prevent a work from . . . seeking or accepting work

[or] operating a business” in the United States. Final Rule, at 561-562. It

draws no distinction between employees and independent contractors, id. at

563-564, sweeps in nondisclosure agreements that the Commission believes

“function” in a manner similar to noncompetes, id. at 77-79, and applies to

senior executives making millions per year.


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      None of the evidence cited by the Commission could justify such a

sweeping rule. The Commission relies on a handful of studies that examined

the economic effects of various state policies toward noncompetes. See Final

Rule, at 107.    But no State has ever adopted a rule as broad as the

Commission’s. Even California defines noncompetes more narrowly than the

Commission’s functional test. See Cal. Bus. & Prof. Code § 16600. Moreover,

many of those studies compared different States’ approaches to enforcing

noncompetes on particular facts—and thus say nothing about the merits of a

categorical ban. See Final Rule, at 136-138. Without those studies, the

Commission has no reasoned basis for imposing its sweeping prohibition.

      The Commission’s categorical ban is even more indefensible in light of

the extensive case law and economic literature showing that reasonable

noncompetes promote competition.           See pp. 8-9, supra.        Unless all

noncompetes harm competition—a showing the Commission does not attempt

to make—then the Commission needs a reasoned basis for painting with a

broad brush rather than targeting those noncompete agreements that are

actually harmful. It has offered none.




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            2.    The Rule Brushes Aside Superior Alternatives.

      Commenters offered various alternatives that would allow the

Commission to achieve its aims at lower cost. For example, commenters

proposed replacing the Rule’s categorical ban with a case-by-case approach.

That proposal was consistent with state courts’ longstanding approach to

assessing noncompetes (as well as the Commission’s own historical practice

enforcing Section 5). But the Commission rejected that alternative, arguing

that a case-by-case approach would not allow enforcers to address the use of

noncompetes “in the aggregate.” Final Rule, 428-434. Notably, that argument

effectively concedes that many agreements would be enforceable under a case-

by-case test. Id. at 431. Yet the Commission made no attempt to explain why

it was sensible to wipe out potentially millions of agreements that even the

Commission does not think would harm competition.

      Commenters also proposed a host of other alternatives.          Plaintiff-

intervenor U.S. Chamber proposed excluding independent contractors and

severance agreements. See U.S. Chamber Comment Letter 44-45 (Apr. 17,

2023). The Investment Adviser Association asked for the Rule to apply only

prospectively, with an 18-month transition period. See IAA Comment Letter

Rule 2-3 (Apr. 17, 2023). And even some groups that were generally hostile to


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noncompetes asked the Commission to adopt a narrower rule that would

require employers to show a “compelling business interest” for enforcing such

an agreement.      See American Academy of Anesthesiologist Assistants

Comment Letter 1 (May 3, 2023).

      Other commenters proposed specific exclusions or exemptions. The

Small Business Legislative Council asked for the Rule to clearly exclude

moonlighting and non-solicitation clauses. See SBLC Comment Letter 3-4

(Apr. 19, 2023).   And healthcare organizations requested exemptions for

healthcare professionals, doctors, and senior hospital executives.          See,

e.g., Stamford Health Comment Letter Rule 5 (Apr. 1, 2023).

      The Commission summarily rejected each of these proposals based on

little more than ipse dixit—single-sentence, unexplained assertions that

employers had other means for protecting their interests, see Final Rule, at

364 (discussing industries with apprenticeships), or that business justifications

did not outweigh the supposed harms, see id. at 361. The casual flippancy with

which the Commission dismissed alternatives to a categorical ban is

remarkable. That approach fails to adequately explain why it adopted its

chosen rule over “less disruptive alternatives.” Wages & White Lion Inv.,

LLC v. FDA, 16 F.4th 1130, 1139 (5th Cir. 2021).


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            3.    The Rule’s Cost-Benefit Analysis Is Deeply Flawed.

      Although the Commission acknowledged some of the Rule’s costs—such

as the substantial compliance costs for businesses, see Final Rule, at 488-497—

it failed to consider others. The Commission waved away the litigation costs

inherent in relying on trade-secret suits to protect businesses’ information,

reasoning that those costs “are not quantifiable.”          Id. at 453.    Most

importantly, the Commission dismissed the cost of businesses’ inability to

protect their confidential information, assuming (without evidence or analysis)

that firms can rely on other tools like nondisclosure agreements to achieve

similar levels of protection. Id. at 532-33. But the Commission acknowledged

elsewhere that its broad definition of noncompetes may sweep in

nondisclosure agreements.       Id. at 78-79.         The Commission cannot

simultaneously claim that nondisclosure agreements are a viable tool to offset

the costs of the Rule while also adopting a regulation that would invalidate

many of them.

      The Commission’s assessment of benefits was equally flawed.            As

discussed above, the Commission’s projected benefits relied largely on studies

examining the effects of narrower State policies. And those studies are based

on methodological flaws that were thoroughly explained to the Commission


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during the comment period. See, e.g., Kristina M. L. Acri et al., Comment

Letter 1-2 (April 19, 2023). The data underlying those studies are also now

quite stale; even the Commission acknowledged that many of its conclusions

were based on datasets that ended in 2009 or 2014. See Final Rule, at 461, 467

n.1113.   And changes to state law call into question the rationale for a

categorical ban in the first place. If current state laws are already weeding

out unreasonable noncompetes, there is no benefit to a federal rule that wipes

out reasonable and procompetitive noncompetes as well.

II.   PLAINTIFF-INTERVENORS                WILL       BE     IRREPARABLY
      HARMED.

       “Complying with a regulation later held invalid almost always

produces … irreparable harm.” Texas v. EPA, 829 F.3d 405, 435 (5th Cir.

2016). Here, the harms from the Noncompete Rule will be immediate and

severe. Even before the Rule goes into effect, businesses cannot rely on their

existing noncompetes or enter into new ones under the looming shadow of a

Rule deeming those agreements unlawful. See TAB Decl. ¶¶ 8-9 (Ex. B);

Longview Chamber Decl. ¶¶ 10-12 (Ex. C).

      On the day that the Rule takes effect, millions of workers and businesses

will instantly lose bargained-for contractual protections. Employers will need

to take on the “administrative and labor costs associated with issuing notices

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that noncompete agreements cannot be enforced and changing company

policies.” U.S. Chamber Decl. ¶ 10 (Ex. D). Going forward, workers and

businesses will be unable to rely on noncompetes to protect investments in

specialized training or to avoid free-riding by competitors. See Highland

Landscaping Decl. ¶ 6 (Ex. E) (discussing “employee training program[s]”

protected by noncompetes); Alloy Precision Technologies Decl ¶7 (Ex. F)

(explaining competitors’ efforts to poach employees “after the company has

incurred the substantial expenses of workforce training”). Those burdens

readily constitute “harm for which there is no adequate remedy at law,” Biden,

55 F.4th at 1033-1034 (citations omitted).

III.   THE PUBLIC INTEREST SUPPORTS PRELIMINARY RELIEF.

       “There is generally no public interest in the perpetuation of unlawful

agency action.” Texas v. Biden, 10 F.4th 538, 560 (5th Cir. 2021); see Nken v.

Holder, 556 U.S. 418, 435 (2009) (balance of hardships and public interest

“merge when the Government is the opposing party”). A stay and injunction

would preserve the longstanding status quo, and the Commission cannot claim

to be meaningfully harmed by its inability to enforce a Rule that it took years

to complete.




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      The Commission’s decision to postpone the Rule’s effective date for

roughly four months does not change the calculus. That delayed effective date

does not help businesses, who do not know whether their current agreements

will be enforceable and cannot reasonably negotiate or maintain such

agreements knowing they may soon be unenforceable. Given the importance

of the Rule and the number of agreements it stands to affect, plaintiff-

intervenors urged the Commission to enter its own stay during this litigation.

See, e.g., Order Issuing Stay, In re Matter of the Enhancement and

Standardization of Climate-Related Disclosures for Investors, No. S7-10-22

(Apr. 4, 2024). Because it has refused, and because only a stay and preliminary

injunction can ensure that the Rule receives full judicial review before going

into effect, the public interest favors interim relief.

                                 CONCLUSION

      Plaintiff-intervenors respectfully request that the Court stay the Rule’s

effective date, preliminarily enjoin its enforcement, or both.




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 Dated: May 10, 2024                  Respectfully submitted,

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                       CERTIFICATE OF WORD COUNT

      This Brief In Support of Motion for Stay of Effective Date and

Preliminary Injunction complies with the Procedures for Cases Assigned to

District Judge Ada Brown and Standing Order, Rule II(A), because it contains

6,248 words.

                                                  /s/ Robert L. Sayles
                                                  Robert L. Sayles



                        CERTIFICATE OF SERVICE

      I hereby certify that on May 10, 2024, I electronically transmitted the

attached document to the Clerk of the Court and all counsel of record using

the ECF System for filing and service in accordance with Local Rule 5.1.



                                                  /s/ Robert L. Sayles
                                                  Robert L. Sayles




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